       Case 6:18-cv-00116-ADA-JCM Document 41 Filed 07/22/19 Page 1 of 3



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

A.J. RABE, INC.,                                  §
Plaint iff                                        §
                                                  §
 v.                                               §       Case No. 6:18-CV-00116-ADA
                                                  §
 FARM SERVICE AGENCY,                             §
 UNITED STATES DEPARTMENT                         §
 OF AGRICULTURE, NATIONAL                         §
 APPEAL DIVISION,                                 §
 Defendants                                       §



 ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

Before the Court is the Report and Recommendation of United States Magistrate Judge Jeffrey C.

Manske (Dkt. 38), which recommends that Defendants' Motion to Dismiss, or in the Alternative,

Motion for Summary Judgment be granted. The action was referred to Judge Manske for findings

and recommendations pursuant to 28 U.S.C.     §   636(b)(l)(B), Federal Rule of Civil Procedure 72,

and Rule 1(d) of Appendix C of the Local Rules of the United States District Court for the Western

District of Texas. The Report and Recommendation was filed June 27, 2019.

       A party may file specific, written objections to the proposed findings and recommendations

of the Magistrate Judge within fourteen days after being served with a copy of the Report and

Recommendation, thereby securing de novo review by the district court. 28 U.S.C.     §   63 6(b); Fed.

R. Civ. P. 72(b). A party's failure to timely file written objections to the proposed findings,

conclusions, and recommendation in a Report and Recommendation bars that party, except upon

grounds of plain error, from attacking on appeal the unobjected-to proposed factual findings and

legal conclusions accepted by the district court. See Douglas v. United Service Auto Ass 'n, 79 F.3d




                                                      1
       Case 6:18-cv-00116-ADA-JCM Document 41 Filed 07/22/19 Page 2 of 3



1415. 1428-29 (5th Cir. 1996) (en banc). In the present instance, Plaintiff A.J. Rabe, Inc., has

timely filed objections. Accordingly, the Court reviews the Report and Recommendation de novo.

       Plaintiff argues that the "Magistrate Judge mischaracterized the record with respect to the

FSA and National Appeals Division's determination that.    . .   the Plaintiff had a 'history of failure

to repay debts' based on 'numerous judgments and debts in Plaintiff and Mr. Rabe's credit

histories, some of which were found to be in Plaintiffs control." Pl.'s Obj. to R. & R.     1   (Dkt. 39)

(quoting R. & R. 6 (Dkt. 38)).         Plaintiff specifically objects to the Magistrate Judge's

characterization of a judgment to Knoxville Livestock as "clearly within the control of the

applicant." Id. Plaintiff avers not only that the absence of the underlying judgment to Knoxville

Livestock from the Administrative Record negates any factual basis for the determination that the

matter was "clearly within the control of [Plaintiff]" but also that the debt was in fact beyond

Plaintiff's control. Plaintiff contends that this purported mischaracterization of the Knoxville

Livestock judgment renders untenable the Magistrate Judge's conclusion that the referenced credit

issues were within Plaintiffs control. Id. at 2.

       As the Magistrate Judge rightly observed, judicial review of a final agency decision

pursuant to 5 U.S.C.   §   701 et seq. is limited to whether the challenged action was arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with the law. R. & R.         3   (citing

5 U.S.C. § 706(2)(a)). In the absence   of a reversible procedural violation, the Court will uphold

the agency's decision if based on substantial evidencemore than a scintilla, but less than a

preponderance. Anthony v. Sullivan, 954 F.2d 289, 295 (5th Cir. 1992). Plaintiff has not objected

to the Magistrate Judge's findings regarding the procedural propriety of the Farm Service Agency

(FSA) and National Appeal Division (NAD) decision, and those findings are not clearly erroneous.

Furthermore, the Magistrate Judge determined that the agency based its decision on substantial


                                                   2
     Case 6:18-cv-00116-ADA-JCM Document 41 Filed 07/22/19 Page 3 of 3




evidence; the Knoxville Livestock judgment was not the only blemish on Plaintiff's credit report.

SeeR.   & R. 6 ("[All! FSA and NAD determinations related the loan denial directly to the numerous
judgments and debts in Plaintiff and Mr. Rabe's credit histories, some of which were found to be

in Plaintiffs control." (emphasis added)); see   also id.   (observing that the FSA explicitly articulated

the relationship between the "pattern of nonpayment of debts" and the denial of credit).

         Upon de novo review of the record in this case, the Court concludes that the Magistrate

Judge rightly determined that the FSA properly complied with agency procedure and that the

"agency decisions were rationally related to factual evidence." Id. at 7. Accordingly, it is

         ORDERED that Plaintiff's objections to the Report and Recommendation (Dkt.              39), filed

July 11,2019, be OVERRULED. It is further

         ORDERED that the Report and Recommendation of the United States Magistrate Judge
(Dkt. 38) filed in this cause be hereby   ACCEPTED and ADOPTED by the Court. It is further

         ORDERED that Defendants' Motion to Dismiss, or in the Alternative for Summary
Judgment filed June 10, 2019, (Dkt. 35), be GRANTED.

         SIGNED this the 22nd day of July 2o\q




                                                            ALAN D ALBRIGHT
                                                            UNITED STATES DISTRICT JUDGE
